                          Case 4:19-cv-06669-JST Document 9 Filed 10/28/19 Page 1 of 1

 Attorney or Party without Attorney:                                                                                  For Court Use Only
 Pierce Bainbridge Beck Price & Hecht LLP
 Thomas D Warren, Esq.
 355 S. Grand Avenue, 44th Floor
 Los Angeles, CA 90071
   Telephone No: 213-262-9333

      Attorney For:                                              Ref. No. or File No.:
                      Plaintiff

 Insert name of Court, and Judicial District and Branch Court:
 USDC-Northern District of California
     Plaintiff:   Robert Ross
 Defendant:       AT&T Inc. and AT&T Mobility LLC

           PROOF OF SERVICE                    Hearing Date:             Time:           Dept/Div:        Case Number:
                                                                                                          3:16-cv-6669


1.    At the time of service I was at least 18 years of age and not a party to this action.

2.    I served copies of the Summons in a Civil Action, Complaint, Civil Cover Sheet, Order Setting Initial Case Management
      Conference ans ADR Deadlines, ECF Order Assigning Judge, Standing Order, Consumer Legal Remedies Act Venue Affidavit

3.    a.    Party served:     AT&T Mobility, LLC c/o CT Corporation System
      b.    Person served:    Gabriela Sanchez, Intake Specialist, CT Corporation System, Registered Agent , authorized to accept
                              served under F.R.C.P. Rule 4.

4.    Address where the party was served:       818 W 7th St Suite 930, Los Angeles, CA 90017

5.    I served the party:
      a. by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to receive
      process for the party (1) on: Fri, Oct 25 2019 (2) at: 02:55 PM

6. Person Who Served Papers:
   a. Douglas Forrest (5141, Los Angeles)                                                       d. The Fee for Service was:
   b. FIRST LEGAL
      1517 W. Beverly Blvd.
      LOS ANGELES, CA 90026
   c. (213) 250-1111



7.    I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.




                                                                                 10/28/2019
                                                                                    (Date)                                (Signature)




                                                                     PROOF OF                                                              3919387
                                                                      SERVICE                                                              (323287)
